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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                         CASE 2:15-CR-00164-TLN-4

11                         Plaintiff,                  STIPULATION AND ORDER RE:
                                                       DISMISSAL OF INDICTMENT WITHOUT
12                         v.                          PREJUDICE

13   MANUEL MARZIAL,                                   DATE: N/A
                                                       TIME: N/A
14                         Defendant.                  COURT: Hon. Troy L. Nunley
15

16          In the interests of justice, the United States and the defendant, MANUEL MARZIAL, jointly
17 move to dismiss without prejudice the indictment in this case as to defendant MARZIAL. See Fed. R.

18 Crim. P. 48(a); In re Ellis, 356 F.3d 1198, 1209-10 (9th Cir. 2004) (en banc).

19          Respectfully submitted,

20          Dated: September 8, 2017                    Dated: September 8, 2017

21          PHILLIP A. TALBERT
            United States Attorney
22
            /s/ Ross K. Naughton                        /s/ Olaf W. Hedberg
23          ROSS K. NAUGHTON                            OLAF W. HEDBERG
            Assistant U.S. Attorney
24          Attorney for Plaintiff                      Attorney for Defendant
            UNITED STATES OF AMERICA                    MANUEL MARZIAL
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             Case 2:15-cr-00164-TLN Document 79 Filed 09/11/17 Page 2 of 2

 1                                                  ORDER
 2         Pursuant to the parties’ stipulation/joint motion, and good cause appearing, the indictment in this

 3 case is hereby DISMISSED without prejudice as to defendant MANUEL MARZIAL.

 4         SO ORDERED on September 8, 2017.

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                                                                Troy L. Nunley
 8                                                              United States District Judge
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28 STIPULATION AND [PROPOSED]                     Page 1 of 1
     ORDER RE:
     DISMISSAL OF INDICTMENT
     WITHOUT PREJUDICE AS TO
30   MANUEL MARZIAL
